      Case 2:19-cv-06019-KBH         Document 439        Filed 04/09/24     Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :          CIVIL ACTION
                                               :
                                               :
IN RE WAWA, INC.                               :          This document applies to the
DATA SECURITY LITIGATION                       :          Consumer Track.
                                               :
                                               :
                                               :          No. 19-6019
                                               :          and all related cases.

                                          ORDER

       AND NOW, this 9th day of April 2024, upon consideration of the Judgment and Opinion

of the Third Circuit Court of Appeals vacating the Court’s fee award and remanding for further

proceedings (Doc. No. 420), the arguments made on the record during the Court’s post-remand

hearings held on December 5, 2023 and February 2, 2024 (Doc. Nos. 424, 433), the parties’ post-

remand declarations regarding the fee award (Doc. Nos. 427, 428, 429), Consumer Track

Plaintiffs’ Motion for Attorneys’ Fees, Expenses, and Service Awards (Doc. No. 257) and all

responses thereto, and the Third Amended Settlement Agreement dated February 4, 2022 (Doc.

No. 301-1) (“the Settlement Agreement”), for the reasons set forth in the accompanying

Memorandum, it is hereby ORDERED as follows:

   1. Consumer Track Plaintiffs’ Motion for Attorneys’ Fees, Expenses, and Service Awards

       (Doc. No. 257) is GRANTED;

   2. Berger Montague PC, Chimicles Schwartz Kriner & Donaldson-Smith LLP, Fine, Kaplan

       & Black RPC, and Nussbaum Law Group, P.C., as Consumer Track Plaintiffs’ Class

       Counsel, and pursuant to the Settlement Agreement, are hereby awarded a lump sum of

       $3.2 million for attorneys’ fees, expenses, costs of settlement administration, and class




                                               1
   Case 2:19-cv-06019-KBH         Document 439        Filed 04/09/24     Page 2 of 2




   representative awards to be paid by Wawa in accordance with the Settlement Agreement

   as outlined in the accompanying Memorandum;

3. Class Counsel shall have the discretion to allocate the attorneys’ fees and expenses among

   themselves, other plaintiffs’ counsel that performed common benefit work in the Consumer

   Track action, and the settlement administrator, in accordance with the Settlement

   Agreement as outlined in the accompanying Memorandum;

4. The Court confirms the appointment of Kenneth Brulinski, Kelly Donnelly Bruno, Amanda

   Garthwaite, Marisa Graziano, Tracey Lucas, Marcus McDaniel, Joseph Muller, April

   Pierce, Nicole Portnoy, Nakia Rolling, Eric Russell, Michael Sussman, Charmissha Tingle,

   and Kasan Laster as the Settlement Class Representatives; and

5. The Settlement Class Representatives are each hereby awarded a service award in the

   amount of $1,000.00, to be paid by Wawa out of the $3.2 million lump sum in accordance

   with the Settlement Agreement as outlined in the accompanying Memorandum.




                                                BY THE COURT:


                                                s/ Gene E.K. Pratter
                                                GENE E.K. PRATTER
                                                UNITED STATES DISTRICT JUDGE




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